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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                             SHREVEPORT DIVISION


  INGRID LEWIS, individually and on             *          CASE NO. 5:22-cv-00195
  behalf of DESMOND LEWIS, deceased

  VERSUS                                        *          DISTRICT JUDGE FOOTE

  DEYONTA HORTON, et al                         *          MAGISTRATE HORNSBY


                       MEMORANDUM IN SUPPORT OF
                 DEFENDANTS’ MOTION FOR PARTIAL DISMISSAL

         MAY IT PLEASE THE COURT:

         I.     Claims Asserted by Plaintiff

         On January 21, 2022, Plaintiff Ingrid Lewis filed a Complaint pursuant to 42 U.S.C.

  § 1983 against Shreveport Police Officer Deyonta Horton, the City of Shreveport, and

  American Alternative Insurance Corporation seeking to recover damages arising from the

  alleged wrongful death of her son, Desmond Lewis, after he was killed during an incident

  involving Officer Horton on September 11, 2021. See Rec. Docs. 1 and 10. Plaintiff asserts

  federal claims of excessive use of force and Monell claims based on alleged

  unconstitutional policies, failure to train, supervise, or discipline, and also asserts a

  wrongful death claim pursuant to Louisiana Civil Code Article 2315.

         In her 25-page Complaint, Plaintiff attempts to negatively portray the Shreveport

  Police Department as a “troubled agency” (Rec. Doc. 10, ¶ 13) by referring to singular,

  isolated incidents which are wholly irrelevant to this instant case, and by repeatedly setting

  forth speculative and conclusory allegations of constitutional violations without any factual

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  support. As discussed hereinbelow, Plaintiff’s Complaint lacks sufficient factual detail to

  support a Monell claim and Plaintiff cannot maintain a claim against Officer Horton in his

  official capacity, and such claims should be dismissed.

         II.    Rule 12(b)(6) Standard

         Under Federal Rule of Civil Procedure 12(b)(6), a defendant may move to dismiss

  a claim for “failure to state a claim upon which relief can be granted.” Fed. R. Civ. P.

  12(b)(6). A complaint does not need detailed factual allegations, but a plaintiff’s obligation

  to state the grounds for his entitlement to relief requires more than “labels and conclusions”

  or a “formulaic recitation of the elements of a cause of action.” Bell Atl. Corp. v. Twombly,

  550 U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007). “[A]n unadorned, the-

  defendant-unlawfully-harmed-me accusation” will not suffice. Ashcroft v. Iqbal, 556 U.S.

  662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009). In order to survive a Rule 12(b)(6)

  motion, “a complaint must contain sufficient factual matter, accepted as true, to state a

  claim to relief that is plausible on its face.” Id. “A claim has facial plausibility when the

  plaintiff pleads factual content that allows the court to draw the reasonable inference that

  the defendant is liable for the misconduct alleged.”

         Importantly, insofar as Defendants assert qualified immunity in response to the

  claims Plaintiff has made under § 1983, the Court must scrutinize the allegations even more

  closely. The doctrine of qualified immunity insulates government officials “from liability

  for civil damages insofar as their conduct does not violate clearly established statutory or

  constitutional rights of which a reasonable person would have known.”             Harlow v.

  Fitzgerald, 457 U.S. 800, 818, 102 S.Ct. 2727, 73 L.Ed.2d 396 (1982). Because qualified

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  immunity is “an immunity from suit rather than a mere defense to liability,...it is effectively

  lost if a case is erroneously permitted to go to trial.” Mitchell v. Forsyth, 472 U.S. 511,

  526, 105 S.Ct. 2806, 86 L.Ed.2d 411 (1985).

         A heightened pleading requirement is imposed on a civil rights plaintiff suing a state

  actor in his individual capacity. To satisfy the heightened pleading requirement, the

  “complaint must allege with particularity all material facts establishing a plaintiff’s right

  of recovery, including ‘detailed facts supporting the contention that a plea of immunity

  cannot be sustained.’” Bright v. City of Killeen, Texas, 2021 WL 1226559, *4 (W.D.Tex.

  3/31/21), quoting Leatherman v. Tarrant Cnty. Narcotics Intelligence and Coordination

  Unit, 954 F.2d 1054, 1055 (5th Cir. 1992). Because qualified immunity shields “all but the

  plainly incompetent or those who knowingly violate the law,” “qualified immunity

  represents the norm” and the Fifth Circuit has admonished courts to deny a defendant

  immunity “only in rare circumstances.” Romera v. City of Grapevine, Texas, 888 F.3d

  170, 176 (5th Cir. 2018) (internal citations omitted).

         III.   Plaintiff’s Claims Against Defendant Horton in his Official Capacity
                Should be Dismissed

         The real party in interest in an official capacity suit is the governmental entity, not

  the named official. Hafer v. Melo, 502 U.S. 21, 25, 112 S.Ct. 358, 116 L.Ed.2d 301 (1991)

  (“State officers sued for damages in their official capacity are not ‘persons’ for purposes

  of the suit because they assume the identity of the government that employs them”). Thus,

  “an official-capacity suit is, in all respects other than name, to be treated as a suit against

  the entity.” Kentucky v. Graham, 473 U.S. 159, 166, 105 S.Ct. 3099, 87 L.Ed.2d 114


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  (1985); see also, Burge v. Parish of St. Tammany, 187 F.3d 452, 466 (5th Cir. 1999)

  (“Official capacity suits generally represent another way of pleading an action against an

  entity of which an officer is an agent.”). Accordingly, all claims against Officer Horton in

  his official capacity should be dismissed with prejudice.

         IV.    Plaintiff Failed to State a Plausible Monell Claim

         Under Monell, municipalities can be held liable for the constitutional violations

  which arise from enforcement of the municipality’s policies and procedures, but the

  municipality cannot be held liable for the constitutional torts of their employees under the

  doctrine of respondeat superior. Monell v. Dept. of Soc. Servs. of City of New York, 436

  U.S. 658, 691, 98 S.Ct. 2018, 2037, 56 L.Ed.2d 611 (1978); Piotrowski v. City of Houston,

  237 F.3d 567, 578 (5th Cir.), reh’g denied, 251 F.3d 159, cert. denied, 122 S.Ct. 53 (2001).

  Thus, in order to hold a municipality liable under § 1983, a plaintiff must identify: (1) an

  official policy or custom, of which (2) a policymaker can be charged with actual or

  constructive knowledge, and (3) a constitutional violation whose “moving force” is that

  policy or custom. Monell, 436 U.S. at 694. A custom or policy may be found in multiple

  ways. Most often, it exists in the form of written policy statements, ordinances, or

  regulations, but it may also arise in the form of a persistent, widespread practice of officials

  or employees which, although not authorized by officially adopted and promulgated policy,

  “is so common and well-settled as to constitute a custom that fairly represents municipal

  policy.” Piotrowski, 237 F.3d at 579. Regardless of the form, a policy is “official” only

  “when it results from the decision or acquiescence of the municipal officer or body with

  final policymaking authority over the subject matter of the offending policy.” Jett v. Dallas

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  Indep. Sch. Dist., 491 U.S. 701, 737, 109 S.Ct. 2702, 105 L.Ed.2d 598 (1989).

         A municipality’s failure to train, supervise, or discipline its police officers may also

  give rise to § 1983 liability, but the plaintiff must show that the failure constituted

  “deliberate indifference” to his constitutional rights. See Sanders-Burns v. City of Plano,

  578 F.3d 279, 290 (5th Cir. 2009); Brumfield v. Hollins, 551 F.3d 322, 332 (5th Cir. 2008);

  Pineda v. City of Houston, 291 F.3d 325, 332 (5th Cir. 2002); Brown v. Bryan County, 219

  F.3d 450, 457 (5th Cir. 2000). A plaintiff “must show that ‘in light of the duties assigned

  to specific officers or employees, the need for more or different training is obvious, and

  the inadequacy so likely to result in violations of constitutional rights, that the

  policymakers of the city can reasonably be said to have been deliberately indifferent to the

  need.’” Sanders-Burns, 594 F.3d at 381, quoting City of Canton, Ohio v. Harris, 489 U.S.

  378, 390, S.Ct. 1197, 103 L.Ed.2d 412 (1989). The focus must be on the training program

  in relation to the tasks the particular officer(s) must perform. The fact that a particular

  officer may be unsatisfactorily trained will not suffice, as the officer’s shortcomings may

  have resulted from factors other than a faulty training program. City of Canton, 489 U.S.

  at 390-91. It will not suffice to simply “prove that an injury or accident could have been

  avoided if an officer had better or more training, sufficient to equip him to avoid the

  particular injury-causing conduct.” Id. at 391. “[P]lainly, adequately trained officers

  occasionally make mistakes; the fact that they do says little about the training program or

  the legal basis for holding the city liable.” Id. Moreover, for liability to attach, a plaintiff

  must still prove that the deficiency in a city’s training program actually caused the injury.

  Id.; see also, Schumpert v. City of Tupelo, 905 F.3d 310, 317 (5th Cir. 2018).

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         Generally, claims of inadequate training require that the plaintiff demonstrate a

  pattern of similar violations. Sanders-Burns, 594 F.3d at 381; Estate of Davis ex rel.

  McCully v. City of N. Richland Hills, 406 F.3d 375, 383 (5th Cir. 2005) (“a plaintiff must

  usually demonstrate a pattern of violations and that the inadequacy of the training is

  ‘obvious and obviously likely to result in a constitutional violation’”). The prior acts must

  be fairly similar to what ultimately transpired and, in a case of excessive force, the prior

  act must have involved injury to a third party. Id.

                A.      City’s Written Policies

         Plaintiff alleges “[t]he City’s written policies on the use of force are facially

  unconstitutional and were a moving force behind Lewis’s constitutional right to be free

  from excessive force.” (Rec. Doc. 10, p.15). Plaintiff only refers to the “written policies”

  in a conclusory manner and fails to identify a specific policy, or a specific provision of any

  policy, that is facially unconstitutional.

         Further, while Plaintiff alleges SPD’s policies on use of force contradict what the

  United States Supreme Court has set forth as the constitutional limits on lethal force,

  Plaintiff incorrectly argues that a suspect must pose an “actual” and “immediate threat” to

  the officer before lethal force is justified. Contrary to Plaintiff’s argument, the law does

  not require that an officer be in actual, imminent danger of death or serious bodily injury

  in order to use lethal force. The relevant inquiry is only whether the officer reasonably

  believed the suspect posed a threat of serious harm to the officer or others. Tennessee v.

  Garner, 471 U.S. 1, 11, 105 S.Ct. 1694 (1985) (affirming principle that deadly force is

  authorized where “the officer has probable cause to believe the suspect poses a threat of

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  physical harm, either to the officer or to others”) (italics added); and see, Harris v. Serpa,

  745 F.3d 767, 773 (5th Cir. 2014). The Fifth Circuit has repeatedly found that “it is

  objectively reasonable for an officer to use deadly force even if he merely believes—albeit

  reasonably—that the suspect is reaching for a weapon.” Orr v. Copeland, 844 F.3d 484,

  494 (5th Cir. 2016) (italics in original). “It is immaterial whether a plaintiff was actually

  armed.” Valderas v. City of Lubbock, 937 F.3d 384, 390 (5th Cir. 2019).

         Accordingly, because Plaintiff has failed to identify any written policy of the

  Shreveport Police Department that is facially unconstitutional, and Plaintiff has failed to

  sufficiently allege that any policy was a “moving force” in Mr. Lewis’s death, Plaintiff’s

  Monell claim based on the Shreveport Police Department’s written policies must be

  dismissed.

                B.     SPD’s Training, Supervision, and Discipline1

         Plaintiff alleges the City failed to train its officers on use of force and in dealing

  with individuals during a foot pursuit, and argues in a conclusory manner that policymakers

  knew or should have known that Officer Horton “exhibited a pattern of escalating

  encounters with the public.” (Rec. Doc. 10, p.17). Plaintiff repeatedly states, in multiple

  ways, that SPD’s policies, training, supervision, and/or discipline are “inadequate,” yet

  Plaintiff failed to state any factual allegations as to how the City’s training program is

  allegedly deficient or how the alleged deficiency caused the death of Mr. Lewis. Plaintiff’s



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   A failure-to-supervise claim is evaluated in the same manner as a failure-to-train claim,
  so both claims will be addressed simultaneously. Trammell v. Fruge, 868 F.3d 332, n.11
  (5th Cir. 2017), citing Burge v. St. Tammany Par., 336 F.3d 363, 370 (5th Cir. 2003).

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  allegations of inadequate training are nothing more than legal conclusions unsupported by

  factual details. See Id., ¶¶ 83-93; see also, Ashcroft, 556 U.S. at 768 (“[t]hreadbare recitals

  of the elements of a cause of action” and conclusory allegations are insufficient to survive

  a 12(b)(6) motion). Plaintiff’s allegations of alleged inadequate supervision and discipline

  are even more tenuous as Plaintiff failed to identify even a single incident of misconduct

  or excessive use of force by Officer Horton. See Rec. Doc. 10, ¶¶ 77-78.

         Although Plaintiff does include in her Complaint facts concerning a shooting

  involving Officer Treveion Brooks, and incidents of use of force by other Shreveport police

  officers, none of the factual allegations concerning other incidents are sufficient to state a

  plausible claim in this matter. Plaintiff has not set forth any facts to demonstrate any other

  constitutional violations, nor are any of the alleged incidents fairly similar to what

  ultimately transpired. Specifically, with respect to Plaintiff’s allegations concerning

  Anthony Childs, Plaintiff acknowledges in her Complaint that Officer “Brooks believed

  Childs to be armed” (Rec. Doc. 10, ¶ 16). The fact that Mr. Childs was shot and killed by

  an officer who believed Mr. Childs to be armed is woefully insufficient to demonstrate a

  constitutional violation. Plaintiff also refers to incidents involving Tommie McGlothen,

  Jr., Chico Bell, and Damon Robinson, but there are no allegations that either of these

  incidents involved the use of lethal force, nor are there any allegations that demonstrate a

  situation that was “fairly similar to what ultimately transpired” between Officer Horton

  and Mr. Lewis. See infra.

         Plaintiff’s Complaint fails to state how the Shreveport Police Department’s training

  program is inadequate, fails to state how the alleged training deficiency caused Mr. Lewis’s

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  death, fails to identify a pattern of violations similar to what ultimately transpired between

  Officer Horton and Mr. Lewis, fails to identify any prior violations by Officer Horton, and

  fails to state how any official acted with deliberate indifference. Plaintiffs’ repeated

  allegations of inadequate training, supervision, and discipline are nothing more than legal

  conclusions unsupported by factual details. Accordingly, Plaintiff’s Monell claim based

  on the Shreveport Police Department’s training program must be dismissed.

         V.     Conclusion

         For the reasons set forth herein, Defendants show that Plaintiffs’ factual allegations

  fail to satisfy the applicable pleading standards for Monell claims and therefore fail to state

  a plausible claim for relief.

         WHEREFORE, Defendants pray that this Motion to Dismiss be GRANTED, and

  that Plaintiff’s claims against Officer Horton in his official capacity and all Monell claims

  against the City of Shreveport be DISMISSED WITH PREJUDICE, at Plaintiff’s costs.


                                      Respectfully submitted,

                                      CARMOUCHE, BOKENFOHR, BUCKLE & DAY

                                      BY: /s/ Nichole M. Buckle
                                             Nichole M. Buckle, Bar No. 32113
                                             Amy G. Day, Bar No. 33138
                                      One Bellemead Center
                                      6425 Youree Drive, Suite 380
                                      Shreveport, Louisiana 71105
                                      Phone: (318) 629-0014
                                      Fax: (318) 404-1571

                                      ATTORNEYS FOR DEFENDANTS, DEYONTA
                                      HORTON and the CITY OF SHREVEPORT


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